
MEMORANDUM **
The bankruptcy court did not abuse its discretion or misapply the law when it reduced the total fee award payable to Appellant Houlihan Lokey Howard &amp; Zu-kin, Inc. See Leichty v. Neary (In re Strand), 375 F.3d 854, 857 (9th Cir.2004) (“We will not disturb a bankruptcy court’s award of [professional] fees unless the bankruptcy court abused its discretion or erroneously applied the law.”) (citations omitted). The court properly considered “the nature, the extent, and the value” of Appellant’s services, taking into account the factors it deemed relevant. See 11 U.S.C. § 330(a)(3)(A); see also Houlihan Lokey Howard &amp; Zukin Capital v. Unsecured Creditors’ Liquidating Trust (In re Commercial Fin. Servs., Inc), 298 B.R. 733, 748 (B.A.P. 10th Cir.2003) (“[T]he factors to be taken into account in determining reasonableness are within the discretion of the bankruptcy court.... ”).
AFFIRMED.

 This disposition is not appropriate for publication and may not be cited to or by the *780courts of this circuit except as provided by Ninth Circuit Rule 36-3.

